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        IN THE UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF PENNSYLVANIA



                                        FILED
                                   HARRISBURG, PA
JEREMY BAILEY,                                                              NO. 1: 20 - CV - 1836
PLAINTIFF,                             OCT 2 2 2021
      V.                      PER _ _---"
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                                          _____            _             DISTRICT JUDGE: KANE

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                                        DEPUTY CLERK
LIEUTENANT YODER,
SERGEANT R. BATIUK,
C/O DERR,
C/O ANTHONY,
DEFENDANTS,


                                 PLAINTIFF FIRST AMENDED COMPLAINT



I. Introduction


1. This is a civil rights action filed pursuant to 42 U.S.C §1983 by Jeremy Bailey, an inmate
currently held at (SCI) Coal Township in Coal Township, pennsylvania. Mr . Bailey alleges that his
rights under the 8th and 14th Amendment of the United States Constitution have been violated
due to correctional officers who failed to protect him after deliberatly placing a z - coded
inmate in the cell with him who later attack him after giving repeated warning he would do so if
not removed from the cell.


II. Jurisdiction


2. This Court has jurisdiction over this matter pursuant to 28 U.S.C §1331, 1343(3) and 1343(4),
as well as 42 U.S.C. §1983 and 28 U.S.C. §2201 -2202 .


Ill. Parties


3. Plaintiff Jeremy Bailey is an inmate at (SCI) Coal Township, 1 Kelley Drive, Coal Township, pa
17866


4. Lieutenant Yoder is a Lieutenant at (SCI) Coal Township, 1 Kelley Drive, Coal Township, Pa
17866. In which you refer to as Lieutenant John Doe (1) are amended to reflect the identity and
the actions of officer, Lieutenant Yoder.



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5. Sergeant R. Batiuk is a Sergeant at (SCI) Coal Township, 1 Kelley Drive, Coal Township, Pa
17866. In which you refer to as Sergeant John Doe (1) are amended to reflect the identity and
the actions of officer, Sergeant R. Batiuk.


6. Correctional officer Derr is a Correctional officer at (SCI) Coal Township, 1 Kelley Drive, Coal
Township, Pa 17866. in which you refer to as Correctional officer John Doe (1) are amended to
reflect the identity and action of officer, Correctional officer Derr.


7. Correctional officer Anthony is a Correctional officer at (SCI) Coal Township, 1 Kelley Drive,
Coal Township, Pa 17866. In which you refer to as Correctional officer John Doe (2) are
amended to reflect the identity and actions of officer, Correctional officer Anthony.


IV. Notification


         The Plaintiff hereby ask that this Honorable Court         please accept that the original
complaint is to stand as filed and that this amendment is to only properly identify the
defendants originally listed as John Doe's and for the record to reflect that they now have been
identified as th is amendment states.




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